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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT

 GARRETT SITTS, et al.,


                        PLAINTIFFS,                Civil Action No. 2:16-cv-00287-cr

          v.

 DAIRY FARMERS OF AMERICA, INC.,
 and DAIRY MARKETING SERVICES,
 LLC,

                        DEFENDANTS.


        PLAINTIFFS’ MOTION IN LIMINE TO EXCLUDE DEPOSITION
 DESIGNATIONS OF MIDLAND FARMS, INC. AND CLOVERLAND FARMS DAIRY

       Plaintiffs move in limine to preclude Defendants from introducing the deposition

testimony of two third-party milk processors—Midland Farms, Inc. (designee, Demetrios

Haseotes) and Cloverland Farms Dairy (designee, James Cella). Both depositions were taken in

2011 by Defendants in Allen v. Dairy Farmers of America, Case No. 5:09-CV-230 (D. Vt. 2009)

(“Allen”). Defendants presumably seek to introduce these depositions to support their argument

that these two processing plants purchased milk from independent farmers and, therefore,

Plaintiffs had “many options” for selling their milk.

       As described below, this testimony constitutes inadmissible hearsay and does not qualify

for the “former testimony” exception to hearsay. See Fed. R. Evid. 804(b)(1). Specifically,

Plaintiffs did not attend and never had an opportunity to cross examine, or designate Federal

Rule of Civil Procedure 30(b)(6) topics of their own. Moreover, Class Counsel are not

Plaintiffs’ “predecessor in interest”—and regardless, did not have a similar motive to develop

this testimony because the Class did not have to deal with individualized defenses or many of the

arguments that Defendants have asserted in this case. Additionally, Class Counsel never
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completed their cross-examination in this Midland Farms deposition. Instead, the Midland

Farms deposition was suspended and (to Plaintiffs’ knowledge) never completed. Because

Plaintiffs and Class counsel did not have a similar motive to cross-examine these witnesses, they

are inadmissible hearsay. See Fed. R. Evid. 801, 802.

       Additionally, because Plaintiffs never had an opportunity to cross-examine these

corporate designees, allowing the depositions at trial would unfairly prejudice the Plaintiffs. See

Fed. R. Evid. 403.

                                           ARGUMENT

       A. The “Former Testimony” Exception Does Not Apply.

       The “former testimony” exception to hearsay only applies where the party against whom

the testimony is offered had “an opportunity and similar motive” to cross-examine them at their

depositions as they would have in this case. See Fed. R. Evid. 804(b)(1)(B). The “similar

motive” analysis is an inherently factual inquiry based on “the similarity of the underlying issues

and on the context of the . . . questioning.” United States v. Salerno, 505 U.S. 317, 326 (1992)

(Blackmun, J., concurring); United States v. DiNapoli, 8 F.3d 909, 912 (2d Cir. 1993) (where a

“fact is critical” at a later proceeding but only “peripherally related” to a prior proceeding, “no

one would claim that the questioner had a similar motive at both proceedings to show that the

fact had been established (or disproved)”); see also Zola v. Gordon, 1993 WL 247821, at * 2

(S.D.N.Y. June 30, 1993) (“Similar motive exists where there is ‘substantial similarity of issues

and purpose for which testimony is offered is clear.’”) (citation omitted). At its core, “the

question resolves itself into whether fairness allows imposing, upon the party against whom now

offered, the handling of the witness of the earlier occasion.” See Fed. R. Evid. 804, advisory

committee note (emphasis added).




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        Here, it would be unfair to Plaintiffs to allow Defendants to use these third-party video

depositions at trial because Plaintiffs did not have an opportunity to attend the depositions, cross-

examine, or even identify their own Rule 30(b)(6) topics. Class Counsel in Allen, moreover, did

not have a similar motive to ask the questions that Plaintiffs would have asked had they been

present. Indeed, the Allen case did not have to defend against “individualized defenses” or the

similar arguments that have been raised in this case—e.g., that farmers have “many options” for

selling their milk.1

        With respect to the Midland Farms deposition, Class Counsel did not even complete this

deposition. Instead, the last thirty pages of the transcript consist of lawyers bickering with each

other over an instruction to the witness not to answer certain questions posed by Class Counsel.

The fact that the deposition was never completed strongly suggests that it was not a high priority

for Class Counsel—potentially because the issues were peripheral to their case. Here, however,

Defendants have touted that their “individualized defenses” will be front and center at trial (so

much, that it would deprive them of due process to have the claims of all 116 plaintiffs presented

in one trial).

        In short, because Plaintiffs and Class Counsel did not have similar motives with respect

to these depositions, it would be unfair to Plaintiffs to allow them to be used at trial. If

Defendants wanted testimony from these processors, then they should have deposed them in this

case. Indeed, Defendants only took seven of the twelve depositions at their disposal.




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 Had Plaintiffs been able to attend and cross-examine at these depositions, they would have
probed whether these processing plants were actual options for independent farmers.
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       B. Allowing the Depositions Would Unfairly Prejudice Plaintiffs

       For these same reasons, the depositions should be excluded under Rule 403. Indeed, any

possible relevance of this testimony is far outweighed by the fact that Plaintiffs never had an

opportunity to cross-examine.

                                          CONCLUSION

       For the reasons set forth herein, the Court should exclude the deposition testimony of

Midland Farms and Cloverland Farms.

                                                  Respectfully Submitted,

                                                  PLAINTIFFS,

                                                  By their attorneys,

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                                 CERTIFICATE OF SERVICE

        I, Dana A. Zakarian, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
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(NEF) and paper copies will be sent to those indicated as non-registered participants on this 17th
day of June 2020.

                                                     /s/ Dana A. Zakarian




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